
PER CURIAM
Marvin D. Campbell ("Defendant") appeals from the judgment upon his convictions by a jury for one count of attempted *920robbery in the first degree ("Count I"), in violation of Section 569.020, RSMo 2000,1 and one count of unlawful possession of a firearm ("Count II"), in violation of Section 571.070. Defendant was sentenced to fifteen-years' imprisonment on Count I and seven-years' imprisonment on Count II, to be served consecutively for a total of twenty-two years' imprisonment. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential purpose. We have, however, provided a memorandum opinion for the use of the parties setting forth the reasons for our decision. We affirm the judgment pursuant to Rule 30.25(b).

Unless otherwise indicated, all further statutory references are to RSMo 2000 as amended.

